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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA Asy Fy Ep

Civil Action No. 1:21-cv-305-MR-WCM Svan,

BROTHER T. HESED-EL,

Plaintiff,

Vv.

ROBIN BRYSON, et al,
Defendants.

COMES NOW Brother T. Hesed-E] (hereinafter “Plaintiff’), pursuant to Rule 60(b)(1) of

the Federal Rules of Civil Procedure, and hereby moves the Court to correct the errors of law of

Judge Reidinger’s Order dated November 28, 2023 [Doc. 143). Pursuant to Local Rule 7.1, the

parties have conferred on this matter and the defendants oppose this motion.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that he is allowed to proceed on the following causes of

action: (1) gross negligence/willful and wanton conduct against Bryson; (2) negligent mfliction of

emotional distress against Bryson; (3) negligent supervision and/or training against Mission

Hospital; (4) respondeat superior against Mission Hospital; (5) medical negligence against Bryson

and Mission Hospital; and (6) ordinary negligence against Bryson and Mission Hospital.

Respectfully, this 27 day of Sha’ban in the year 1445 A.H.

Case 1:21-cv-00305-MR-WCM

Bro. T. Hesed-El, Plaintiff pro se

c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3@gmail.com

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CERTIFICATE OF SERVICE

The undersigned certifies that this MOTION FOR RULE 60(b)(1) RELIEF has been sealed
in an envelope with sufficient postage affixed thereon, and deposited into the exclusive custody of

the United States Post Office, to ensure delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A.

Post Office Box 7647
Asheville, North Carolina 28802
dwalsh@roberts-stevens.com

March 8, 2024

{tl Brother 7, Natacdt-Cb, AKC
Bro. T. Hesed-E}, Plaintiff pro se

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